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                                           Form LR
                                             26.2

                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DTVISION

R.F. TECHNOLOGIES, INC., an Illinois                )
Corporation, and BOB NOORIAN,Individually,
                                                    )
              Plaintiffs,

v.
                                                        CaseNo. l:17-cv-01886
LECLAIR RYAN, P.C., a Virginia professional
Corporation, and THOMAS O'LEARY,
Individually and GREENBERG TRAURIG,
LLP, an Illinois limited liability partnership,

              Defendants.




                              Ag reed Confidentiality Order

        The parties to this Agreed Confidentiality Order have agreed to the terms of

 this Order; accordingly, it is ORDERED:

        1.     Scope. All materials produced or adduced in the course of discovery,

 including initial disclosures, responses to discovery requests, deposition testimony

 and

 exhibits, and information derived directly therefrom (hereinafter collectively

"documents"), shall be subject to this Order concerning Confidential lnformation as

defined below. This Order is subject to the Local Rules of this District and the Federal

Rules of Civil Procedure on matters of procedure and calculation of time periods.

        2.     Confidential lnformation. As used in this Order, "Confidentia!

 Information" means information designated as'CONFIDENTIAL-SUBJECT TO

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PROTECTIVE ORDER" by the producing party that falls within one or more of the

following categories: (a) information prohibited from disclosure by statute; (b)

information that reveals trade secrets; (c) research, technical, commercial or financial

information that the party has maintained as confidential; (d) medical information

concerning any individual; (e) personal identity information; (f) income tax returns

(including attached schedules and forms),w-2 forms and 't0gg forms; or (g)

personnel or employment records of a person who is not a party to the case      .




lnformation or documents that are available to the public may not be designated as

Confidential I nformation.

      Confidential lnformation also means information that was designated as "Highly

Confidential-Attorneys' Eyes Only" in Case No. 12-cv-02884 (the "Underlying Case"),

by counselfor HM Electronics, lnc., which may be designated "CONFIDENTIAL-

ATTORNEYS' EYES ONLY" in this case.

       3.     Designation.

              (a)    A party may designate a document as Confidential lnformation for

protection under this Order by placing or affixing the words 'CONFIDENTIAL -

SUBJECT To PROTECTIVE ORDER" or "CoNFtDENTIAL-ATTORNEYS' EYES

ONLY" on the document and on all copies in a manner that will not interfere with the

legibility of the document. As used in this Order, "copies"

includes electronic images, duplicates, extracts, summaries or descriptions that contain

the Confidential !nformation. The marking'CoNFIDENTIAL - SUBJEcT To

PROTECTIVE ORDER" or "coNFIDENTIAL-ATTORNEYS' EYES oNLy" shall be

applied prior to or at the time the documents are produced or disclosed. Applying the

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marking "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" or

"CONFIDENTIAL-ATTORNEYS' EYES ONLY" to a document does not mean that the

document has any status or protection by statute or othenrvise except to the extent

and for the purposes of this Order. Any copies that are made of any documents

marked 'CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" or

"CONFIDENTIAL-ATTORNEYS' EYES ONLY" shall also be so marked, except that

indices, electronic databases or lists of documents that do not contain substantial

portions or images of the text of marked documents and do not othenruise disclose the

substance of the Confidential lnformation are not required to be marked.

              (b)    The designation of a document as Confidential lnformation is

a certification by an attorney or a party appearing pro se that the document

contains Confidential lnformation as defined in this order.l

       4.     Depositions.

       Deposition testimony is protected by this Order only if designated as

"coNFIDENTIAL     - suBJEcr ro PRorEcrtvE ORDER" or "coNFtDENTIAL-
ATTORNEYS' EYES ONLY" on the record at the time the testimony is taken. Such

designation shall be specific as to the portions that contain Confidential Information.

Deposition testimony so designated shall be treated as Confidential lnformation


       1An attorney
                    who reviews the documents and designates them as
coNFIDENTIAL - SUBJECT To PRoTECTtvE ORDER or coNFtDENTtAL-
ATTORNEYS' EYES ONLY must be admitted to the Bar of at least one state but need
not be admitted to practice in the Northern District of lllinois unless the lawyer is
appearing generally in the case on behalf of a party. By designating documents
confidential pursuant to this Order, counsel submits to the jurisdiction and sanctions of
this Court on the subject matter of the designation.


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protected by this Order until fourteen days after delivery of the transcript by the court

reporter to any party or the witness. Within fourteen days after delivery of the

transcript, a designating party may serve a Notice of Designation to all parties of

record identifying the specific portions of the transcript that are designated Confidential

lnformation, and thereafter those portions identified in the Notice of Designation shall

be protected under the terms of this Order. The failure to serve a timely Notice of

Designation waives any designation of deposition testimony as Confidential

lnformation that was made on the record of the deposition, untess othenrvise ordered

by the Court.

       5.       Protection of Confidential Material.

                (a)   General Protections. Confidential lnformation shall not be used

or disclosed by the parties, counsel for the parties or any other persons identified in

subparagraph (b) for any purpose whatsoever other than in this litigation, including

any appealthereof

                (b)   Limited Third-Party Disclosures. The parties and counsel for the

parties shall not disclose or permit the disclosure of any Confidential lnformation

designated "CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER" to any third

person or entity except as set forth in subparagraphs (1)-(9). Counselfor Plaintiff, R.F.

Technologies, lnc., shall not disclose or permit the disclosure of any Confidential

lnformation that was designated as "Highly Confidential-Attorneys' Eyes Only" in the

Underlying case by counsel for HM Electronics, lnc. and/or is designated

"CONFIDENTIAL-ATTORNEYS' EYES ONLY" pursuant to this Order to Plaintiffs R.F.



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Technologies, lnc. or Bob Noorian or to any third party person or entity except as set

forth in subparagraphs (1) and (9). Subject to these requirements, the following

categories of persons may be allowed to review Confidential lnformation:

             (1)    Counsel. Counsel for the parties and employees of counsel
                    who have responsibility for the action;

             (2)    Parties. lndividual parties and employees of a party but onry to
                    the extent counsel determines in good faith that the employee's
                    assistance is reasonably necessary to the conduct of the litigation
                    in which the information is disclosed;

             (3)    The Court and its personnel;

             (4)    Court Reporters and Recorders. Court reporters and
                    recorders engaged for depositions;

             (5)    contractors. Those persons specifically engaged for the limited
                    purpose of making copies of documents or organizing or
                    processing documents, including outside vendors hired to
                    process electronically stored documents;
              (6)   consultants and Experts. consultants, investigators, or experts
                    employed by the parties or counsel for the parties to assist in the
                    preparation and trial of this action but only after such persons
                    have completed the certification contained in Attachment A,
                    Acknowledgment of Understanding and Agreement to Be Bound;

             (7)    witnesses at depositions. During their depositions, witnesses in
                    this action to whom disclosure is reasonably necessary.
                    Witnesses shall not retain a copy of documents containing
                    confidential lnformation, except witnesses may receive a copy of
                    all exhibits marked at their depositions in connection with review of
                    the transcripts. Pages of transcribed deposition testimony or
                    exhibits
                    to depositions that are designated as confidential lnformation
                    pursuant to the process set out in this Order must be
                    separately bound by the court reporter and may not be
                    disclosed to anyone except as permitted under this order.

             (8)    Author or recipient. The author or recipient of the document (not
                    including a person who received the document in the course of
                    litigation); and


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               (9)    Others by Consent. Other persons only by written consent of the
                      producing party or upon order of the Court and on such
                      conditions as may be agreed or ordered.

              (c)     Control of Documents. Counsel for the parties shall make

reasonable efforts to prevent unauthorized or inadvertent disclosure of Confidential

lnformation. Counsel shall maintain the originals of the forms signed by persons

acknowledging their obligations under this Order for a period of three years after

the termination of the case.

       6.     lnadvertent Failure to Designate. An inadvertent failure to designate

a document as Confidential lnformation does not, standing alone, waive the right to

so designate the document; provided, however, that a failure to serve a timely Notice

of Designation of deposition testimony as required by this Order, even if inadvertent,

waives any protection for deposition testimony. lf a party designates a document as

Confidential lnformation after it was initially produced, the receiving party, on

notification of the designation, must make a reasonable effort to assure that the

document is

treated in accordance with the provisions of this Order. No party shall be found to

have violated this Order for failing to maintain the confidentiality of material during a

time when that material has not been designated Confidential lnformation, even where

the failure to so designate was inadvertent and where the material is subsequenfly

designated Confidential lnformation.

       7.     Filing of Confidential Information. This Order does not, by itself,

authorize the filing of any document under seal. Any party wishing to file a

document designated as Confidential lnformation in connection with a motion, brief

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or other submission to the Court must comply with LR 26.2.

       8.     No Greater Protection of Specific Documents. Except on privilege

grounds not addressed by this Order, no party may withhold information from

discovery on the ground that it requires protection greater than that afforded by this

Order unless the party moves for an order providing such special protection.

       9.     Challenges by a Party to Designation as Confidential lnformation.

The designation of any material or document as Confidential !nformation is subject

to challenge by any party. The following procedure shall apply to any such

challenge.

              (a)     Meet and Confer. A party challenging the designation of

Confidential lnformation must do so in good faith and must begin the process by

conferring directly with counsel for the designating party. ln conferring, the

challenging party must explain the basis for its belief that the confidentiality

designation was not

proper and must give the designating party an opportunity to review the designated

material, to reconsider the designation, and, if no change in designation is offered,

to explain the basis for the designation. The designating party must respond to the

challenge within five (5) business days.

              (b)     Judicial !ntervention. A party that elects to challenge a

confidentiality designation may file and serve a motion that identifies the challenged

material and sets forth in detail the basis for the challenge. Each such motion must

be accompanied by a competent declaration that affirms that the movant has

complied with the meet and confer requirements of this procedure. The burden of

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persuasion    an   any such challenge proceeding shall be on the designating party. Until

the Court rules on the challenge, all parties shall continue to treat the materials as

Confidential lnformation under the terms of this Order.

        10.    Action by the Court. Applications to the Court for an order relating to

materials or documents designated Confidential lnformation shall be by motion.

Nothing in this Order or any action or agreement of a party under this Order limits

the Court's power to make orders concerning the disclosure of documents produced

in discovery or at trial.

        11.    Use of Confidential Documents or lnformation at Trial. Nothing in this

Order shall be construed to affect the use of any document, material, or information at

any trial or hearing. A party that intends to present or that anticipates that another

party may present Confidential information at a hearing or trial shall bring that issue to

the Court's and parties' attention by motion or in a pretrial memorandum without

disclosing the Confidential lnformation. The Court may thereafter make such orders as

are necessary to govern the use of such documents or information at trial.

       12.     Confidential lnformation Subpoenaed or Ordered Produced in Other

Litigation.

               (a)      lf a receiving party is served with a subpoena or an order issued

in other litigation that would compel disclosure of any material or document

designated in this action as Confidential lnformation, the receiving party must so

notify the designating party, in writing, immediately and in no event more than three

court days after receiving the subpoena or order. Such notification must include a

copy of the subpoena or court order.

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              (b)    The receiving party also must immediately inform in writing the

party who caused the subpoena or order to issue in the other litigation that some or

all of the material covered by the subpoena or order is the subject of this Order. !n

addition, the receiving party must deliver a copy of this Order promptly to the party in

the other action that caused the subpoena to issue.

              (c)    The purpose of imposing these duties is to alert the interested

persons to the existence of this Order and to afford the designating party in this case

an opportunity to try to protect its Confidential lnformation in the court from which the

subpoena or order issued. The designating party shall bear the burden and the

expense of seeking protection in that court of its Confidential lnformation, and nothing

in these provisions should be construed as authorizing or encouraging a receiving

party in this action to disobey a lawful directive from another court. The obligations set

forth

in this paragraph remain in effect while the party has in its possession, custody

or control Confidential lnformation by the other party to this case.

        13.   Challenges by Members of the Public to Sealing Orders. A party or

interested member of the public has a right to challenge the sealing of particular

documents that have been filed under seal, and the party asserting confidentiality

will have the burden of demonstrating the propriety of filing under seal.

        14.   Obligations on Conclusion of Litigation.

              (a)        Order Continues in Force. Unless othenrvise agreed or

ordered, this Order shall remain in force after dismissal or entry of finaljudgment not

subject to further appeal.

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              (b)     Obligations at Conclusion of Litigation. Within sixty-three days

after dismissal or entry of finaljudgment not subject to further appeal, all Confidential

lnformation and documents marked .CONFIDENTIAL - SUBJECT TO PROTECTTVE

ORDER" oT "CONFIDENTIAL-ATTORNEYS' EYES ONLY" under this Order, including

copies as defined in fl 3(a), shall be returned to the producing party unless: (1) the

document has been offered into evidence or filed without restriction as to disclosure;

(2) the parties agree to destruction to the extent practicable in lieu of return;2 or (3) as

to documents bearing the notations, summations, or other mental impressions of the

receiving party, that party elects to destroy the documents and certifies to the

producing party that it has done so.

              (c)    Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may

retain (1) attorney work product, including an index that refers or relates to designated

Confidential lnformation so long as that work product does not duplicate verbatim

substantial portions of Confidential !nformation, and (2) one complete set of all

documents filed with the Court including those filed under seal. Any retained

Confidential lnformation shall continue to be protected under this Order. An attorney

may use his or her work product in subsequent litigation, provided that its use does


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         The parties may choose to agree that the receiving party shall destroy
documents containing Confidential lnformation and certify the fact of destruction,
and that the receiving party shall not be required to locate, isolate and return e-mails
(including attachments to e-mails) that may include Confidential lnformation, or
Confidential lnformation contained in deposition transcripts or drafts or final expert
reports.



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not disclose or use Confidential lnformation.

              (d)     Deletion of Documents filed under Seal from Electronic Case

Filing (ECF) System. Filings under seal sha!! be deleted from the ECF system only

upon order of the Court.

       15.    Order Subject to Modification. This Order shall be subject to

modification by the Court on its own initiative or on motion of a party or any

other person with standing concerning the subject matter.

       16.    No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating

discovery. Nothing herein shall be construed or presented as a judicial determination

that any document or material designated Confidential lnformation by counsel or the

parties is entitled to protection under Rule 26(c) of the Federal Rules of Civil

Procedure or otherwise unti! such time as the Court may rule on a specific document

or issue.

       17.    Persons Bound. This Order shall take effect when entered and shall be

binding upon all counsel of record and their law firms, the parties, and persons made

subject to this Order by its terms.

       So Ordered.



Dated: JULtg20lg




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 WE SO MOVE                                     WE SO MOVE
 and agree to abide by the                      and agree to abide by the
 terms of this Order                            terms of this Order

/S/Leigh C. Bonsall                            /s/Amir Tahmassebi


 Signature                                      Signature
Leigh Bonsall                                  Amir Tahmassebi

 Printed Name                                   Printed Name


 Counsel   for:   Defendants/Third              Counsel for: _Plaintiffs R. F.
 Party Plaintiffs LeCIairRvan. P.C. and         Technologies, lnc. and Bob Noorian
 Thomas O'Leary


 Dated: 7113118                                 Dated:7113118




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                                      ATTACHMENT A

                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

R.F. TECHNOLOGIES, [NC., an lllinois              )
Corporation, and BOB NOORIAN,     Individually,   )
               Plaintiffs,

V.
                                                         Case   No.   1:   l7-cv-01 886
LECLAIR RYAN, P.C., a Virginia professional
Corporation, and THOMAS O'LEARY,
Individually and GREENBERG TRAURIG,
LLP, an Illinois limited liability partnership,

               Defendants.




                                 ACKNOWLEDGMENT
                                       AND
                               AGREEMENT TO BE BOUND


         The undersigned hereby acknowledges that he/she has read the Confidentiality

 Order dated                                          in the above-captioned action and

attached hereto, understands the terms thereof, and agrees to be bound by its terms.

The undersigned submits to the jurisdiction of the United States District Court for the

Northern District of lllinois in matters relating to the Confidentiality Order and

understands that the terms of the Confidentiality Order obligate him/her to use materials

designated as Confidential lnformation in accordance with the Order solely for the

purposes of the above-captioned action, and not to disclose any such Confidential

lnformation to any other person, firm or concern.
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        The undersigned acknowledges that violation of the Confidentiality Ordgr may

result in penalties for contempt of court.



Name:

Job Title:

Employer:

Business Address:




Date:

                                   Signature




                                                                     Adopted 06129112
